Case 2:03-cr-20350-SH|\/| Document 68 Filed 08/17/05 Page 1 of 2 Page|D 102

UI)HY"S&Z UO.
IN THE UNI'I‘ED STATES DISTRICT COURT n
FOR THE WES'I‘ERN DIS'I‘RICT OF 'I‘ENNESSEE

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VS. NO. O3~20350-Ma

SYLVES'I‘ER BUTLER

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant’s August 9, 2005,
unopposed motion to reset the sentencing of Sylvester Butler,
which is presently set for August 18, 2005. For good cause
shown, the motion is granted. The sentencing of defendant
Sylvester Butler is reset to Wednesday, September 18, 2005, at

1:30 p.m.

It is so ORDERED this tj&¢`day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED S'I‘A'I‘ES DISTRICT JUDGE

 

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UNITED TATESDTISRIC COURT - WESTERN D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
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Honorable Samuel Mays
US DISTRICT COURT

